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                                                                 May 3, 2018

BY ECF


Hon. George B Daniels
United States Courthouse
Southern District of New York
500 Pearl St., Room 1310
New York, NY 10007

                                RE.     Zayas v. 10th Avenue Kostas LLC, et al
                                        S.D.N.Y. 17cv5933 (GBD)(KHP)

Dear Judge Daniels:

This office represents the plaintiff in the above referenced action. Plaintiff files the instant letter
motion seeking a pre-motion discovery conference pursuant to Local Civil Rule 37.2. To no
avail, I have repeatedly sought outstanding discovery and inspect Defendants’ public
accommodation. Left with no alternative, we respectfully request a pre-motion discovery
telephone conference.

Since the commencement of this action, Defendants’ counsel, Daniel Lynch, has refused to
provide Defendants’ Rule 26 disclosures. I have advised Mr. Lynch that the Rule 26 disclosures
were needed to properly prepare Plaintiff’s First Set of Interrogatories and Request for
Documents. However, other than making promises that he would provide Defendants’ Rule 26
disclosures, he has not. Therefore, I served Defendants with Plaintiff’s First Set of
Interrogatories and Requests of Documents, and reserved Plaintiff’s right to serve further
disclosures, if necessary

Additionally, on March 5, 2018, I served Defendants with a Request to Permit Entry on to
Defendants’ land pursuant to Rule 34. Initially, I proposed March 22, 2018. However, Mr. Lynch
did not respond to the Request or several emails until April 30, 2018. On April 30, 2018, Mr.
Lynch said he does not consent to the property inspection because Plaintiff was never a customer
and never attempted to enter Defendants’ public accommodation. In response, I advised Mr.
Lynch that I understood Defendants’ contention, but Defendants’ subjective belief does not
trump the Federal Rules, and asked that he reconsider. Ms. Lynch did not respond.

Accordingly, Plaintiff respectfully requests a pre-motion telephone conference.
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Thank you.


                              Respectfully Yours,

                              /s/ James E Bahamonde

                              James E. Bahamonde, Esq.

cc:
Daniel F. Lynch
Attorney for Defendants
20 Vesey Street, Suite 410
New York, NY 10007
